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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:17-cr-00084
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
DAJAUVON JOHNEEA WILLIAMS,          )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

April 14, 2017, after receiving the written consent of defendant and all counsel. At the hearing,

Dajauvon Johneea Williams entered a plea of guilty to the Information in exchange for the

undertakings made by the government in the written plea agreement. In the Information, defendant

is charged with possessing and passing counterfeit money in violation of 18 U.S.C. § 472. On the

basis of the record made at the hearing, I find that defendant is fully capable and competent to enter

an informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises; that

the defendant understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to the Information be accepted, and

that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of guilt, and

imposition of sentence are specifically reserved for the district judge.

Date: April 14, 2017                   /s/ Phillip J. Green
                                      PHILLIP J. GREEN
                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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